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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

JACK OWENS, JEFFREY DREES,
KATELYN MURPHY, PATRICK
MANOLIAN, SCOTT MANN, and SEAN
HUSSEY, on behalf of themselves and all
others similarly situated,

                   Plaintiff,                        Civil Action No. 1:19-cv-11835-WGY
       v.

CITY OF MALDEN,

                   Defendant.


                         DEFENDANT’S MOTION TO DECERTIFY

       Defendant City of Malden (the “City”) hereby moves for an order decertifying any Fair

Labor Standards Act (“FLSA”) collective in this action and dismissing the opt-in Plaintiffs from

this action without prejudice. Plaintiffs have failed to carry their burden of showing that overtime

liability across all members of the ostensible collective can be established through representative

proof, as a collective action under the FLSA requires. In fact, the evidence introduced during trial

established quite the opposite; whether any Plaintiff worked more than 40 hours during any

workweek is a determination that requires individualized proof and a painstaking examination of

each Plaintiff’s activities during each workweek in question. Plaintiffs’ counsel conceded this point

during a hearing that followed day three of trial. Under those circumstances, the proper procedural

course is the dismissal of the opt-in Plaintiffs from this action, leaving those who may believe they

have viable FLSA claims to pursue them on an individual basis.




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                      FACTUAL AND PROCEDURAL BACKGROUND

       A.      Claims Asserted and Travel of the Case

       Plaintiffs filed their original complaint on August 28, 2019. Dkt. 1. They filed their

amended complaint on November 27, 2019. Dkt. 8. In both pleadings, Plaintiffs asserted that the

City violated the FLSA by failing to pay them and other police officers proper overtime wages for

“City Details” and violated the Massachusetts Wage Act by deducting a 10% administrative fee

from their wages. See Am. Compl, Docket No. 8, ¶¶ 46, 48. Neither of Plaintiffs’ complaints

request certification of a collective under the FLSA or of a class under Fed. R. Civ. P. 23 (“Rule

23”). In fact, neither pleading alleges facts as to Plaintiffs’ satisfaction of the requirements for

certification of a collective under the FLSA or of a class under Rule 23, beyond Plaintiffs’ formulaic

statement that they purport to bring their claims “on behalf of themselves and all others similarly

situated.” Dkt. 8, p. 1. Plaintiffs have never filed any motion seeking certification of a collective

under the FLSA or of a class under Rule 23.

       On February 22, 2021, the Court certified a class under Rule 23 during a hearing on the

parties’ motions for summary judgment. The Court’s certification order was not in response to a

certification motion from Plaintiffs, or any proffer that certification was proper. The Court inquired

of Plaintiff’s counsel: “First of all, if I let the – if I certify the Wage Act claim co-extensive with

those who opted in on the FLSA claim, you’re fine with that, correct?” See Transcript of Feb. 22,

2021 Hearing, p. 6, excerpts at Exhibit 1. After Plaintiffs’ counsel responded in the affirmative,

the Court ordered certification. Id. (holding “I do so certify.”). There have been no other oral or

written statements or orders from the Court regarding class certification under Rule 23.




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        B.      The Evidentiary Record Bearing on Certification

        There has been no testimony from any Plaintiffs about their weekly hours of work. The

only information relating to weekly hours of work in the record before the Court consists of pay

statements and time cards. See Trial Exhibits 14, 39-40, 43. No single record can determine

whether there is liability to any Plaintiff. The process requires several steps. First, each Plaintiffs’

proper FLSA overtime rate must be calculated based on his or her hourly pay rate and the wage

augments to which he or she is entitled, which vary substantially among the Plaintiffs. That rate

must be compared to the detail rate of pay in effect during the period in question, and many

Plaintiffs’ individual rates of pay are such that the detail rate more than satisfies any FLSA overtime

requirements.

        For those Plaintiffs whose regular compensation is high enough to create a potential

underpayment for FLSA overtime based on work performed on City Details, it must be determined

whether they ever worked more than forty hours during the same workweek in which they worked

a City Detail. That aspect of the analysis requires reference to several discrete sets of information,

including Plaintiffs’ time cards and a sprawling separate listing of details (most of which are not

City Details). Plaintiffs’ struggles to make this showing at trial demonstrate that incidents of FLSA

overtime and City details occurring in the same week, if they occurred at all, are rare, and those

same struggles illustrate the burdensome nature of the exercise of determining potential liability on

a Plaintiff-by-Plaintiff basis.

        There is no way to shortcut the rigorous analysis necessary to evaluate Plaintiffs’ FLSA

overtime claim. Plaintiffs indisputably worked varying schedules and received pay for vacation

and sick time that they did not actually work. Plaintiffs also receive pay for a mandatory minimum




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number of hours for various assignments.1 Thus, Plaintiffs are often paid for a substantially greater

number of hours than they work, limiting the utility of any records of what they were paid in

assessing whether they have worked more than forty hours in a given week. Pay stubs and similar

documents therefore cannot be used to shortcut the arduous week-by-week analysis necessary to

assess whether any given Plaintiff actually worked overtime in any week in which he or she worked

a City Detail.

       Despite extensive efforts, Plaintiffs have been unable to establish a single instance of an

officer working more than forty hours in the same workweek that the officer worked a City Detail.2

During Trial Day 2, Plaintiffs’ counsel established two potential instances of an officer working

more than forty hours in a week in which he also worked a City Detail, but both were outside the

applicable statute of limitations period and properly excluded from evidence.3 During Trial Day 3,

Plaintiffs undertook to establish two instances of an officer working more than forty hours in the

same week as a City Detail, but cross-examination revealed that neither of Plaintiffs’ proffers



1
  For example, Plaintiffs receive guaranteed minimum overtime compensation of three hours, in
the event that they are recalled to duty either after they left their shift or on a day off. Ex. 3, 1997
CBA, Art. 16, § 2; Ex. 5, 2019 CBA, Art. 16, § 2. Similarly, Plaintiffs receive a minimum of four
hours’ pay for appearances in court outside their regular working schedules, regardless of how long
such engagements take. Ex. 3, 1997 CBA, Art. 14, § 1; Ex. 5, 2019 CBA, Art. 14, § 1.
2
  Plaintiffs have offered an exhibit under Fed. R. Evid. 1006 that purports to show overtime
liability. That exhibit is subject to objections based on its accuracy and because it reflects
information outside of the statute of limitations period.
3
  Plaintiffs first undertook to show an instance of overtime worked in the same week as a City Detail
with respect to a detail worked by Michael Powell on April 24, 2017. Officer Powell joined this
litigation on August 21, 2020. See Docket No. 123. The standard and presumptive statute of
limitations for FLSA violations is two years from the date on which a plaintiff initiates or joins
litigation. See 29 U.S.C. § 255; see also McLaughlin v. Richard Shoe Co., 486 U.S. 128, 133
(1988). Any claim based on this detail would be time-barred by approximately sixteen months.
Plaintiffs then put on evidence of a City Detail worked by Captain John Amirault on March 9, 2018.
Captain Amirault also joined this litigation on August 21, 2020 (Docket No. 34), and the detail at
issue is thus time-barred by approximately five months.



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involved a workweek of more than forty hours.4 Plaintiffs have not even attempted to show any

overtime worked by the vast majority of the more than 100 individual participants in this action.

                                            ARGUMENT

       “Certification proceedings in putative FLSA collective actions typically are divided into

two stages.” O’Donnell v. Robert Half Intern., Inc., 429 F. Supp. 2d 246, 249 (D. Mass. 2006). At

the first stage, often before discovery, courts generally hold plaintiffs to a “fairly lenient standard”

of making a minimal showing that members of the collective are similarly situated to secure

conditional certification. Id. (citing Kane v. Gage Merch. Servs., 138 F. Supp. 2d 212, 214 (D.

Mass. 2001)). At the second stage, usually after discovery, courts apply a “stringent standard of

proof in determining whether plaintiffs are similarly situated for the purposes of the FLSA.” Zivali

v. AT&T Mobility, LLC, 784 F. Supp. 2d 456, 460 (S.D.N.Y. 2011); see also Gonpo v. Sonam’s

Stonewalls & Arts, LLC, Civil Action No. 16-40138-MGM, 2018 WL 1725695, at *4 (D. Mass.

Apr. 9, 2018).

       Courts are required to make factual findings and examine the evidentiary record to

determine whether the opt-in plaintiffs are, in fact, similarly situated. Torrezani v. VIP Auto

Detailing, Inc., 318 F.R.D. 548, 557 (D. Mass. 2017); Cruz v. Lyn-Rog, Inc., 754 F. Supp. 2d 521,

523-24 (S.D.N.Y. 2010). When the decertification of an FLSA collective is raised after discovery

has occurred, a court must examine a variety of factors, including “(i) disparate factual and


4
  Plaintiffs undertook to show that Officer Patrick Manolian worked more than forty hours during
the workweek in which he worked a City Detail for the Department of Public Works on October
31, 2020. Cross-examination revealed that this presentation was based on an errant construction of
the applicable workweek, and that Officer Manolian in fact worked a total of approximately 28
hours during the week at issue. Plaintiffs then referenced a detail worked by Officer Richard
Barthelmes on March 14, 2020 at the request of the Mayor’s Office. Upon cross-examination, it
was demonstrated that this presentation was also based on an errant construction of the applicable
workweek, and Officer Barthelmes worked approximately 36 total hours during the week in
question.



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employment settings of the individual plaintiffs; (ii) defenses available to the defendants which

appear to be individual to each plaintiff; and (iii) fairness and procedural considerations counseling

for or against collective action treatment.” Zivali, 784 F.Supp.2d at 460 (citations omitted). “[T]he

similarities necessary to maintain a collective action under [the FLSA] must extend beyond the

mere facts of job duties and pay provisions.” Sargent v. HG Staffing, LLC, 2016 U.S. Dist. LEXIS

39893, *104-109 (D. Nev. March 22, 2016) (quotations omitted). After discovery, a Plaintiff faces

a substantial burden to show that members of the collective are similarly situated in the respects

relevant to their FLSA claims. Botero v. Commonwealth Limousine Serv., Inc., 2014 U.S. Dist.

LEXIS 40636, *8 (D. Mass. Mar. 25, 2014) (“standard is ‘lenient’ when based solely on the

pleadings but increases as more evidence is presented to the Court.”).

       In order for a case to proceed to judgment on an FLSA collective action basis, Plaintiffs

must show that they can establish their claims by resort to representative proof, that would allow

their claims to rise or fall together. See Botero, 2014 U.S. Dist. LEXIS 40636 at *9-14 (denying

conditional certification, observing that inquiry into compensable work time “does not generate

common answers and cannot be answered ‘yes’ or ‘no’ on a classwide basis.”) (internal quotations

and citations omitted); Mendez v. U.S. Nonwovens Corp., 2016 U.S. Dist. LEXIS 43957, *17

(E.D.N.Y. Mar. 31, 2016) (decertifying FLSA collective where inconsistencies between each

plaintiff “suggests that the claims are not susceptible to resolution based on generalized proof.”);

Zivali, 784 F. Supp. 2d at 469 (decertifying FLSA collective where, holding that the need for

evidence regarding each individual plaintiff “is the antithesis of collective action treatment”).5 If a



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  See also Trezvant v. Fidelity Employer Servs. Corp., 434 F. Supp. 2d 40, 45 (D. Mass. 2006)
(holding court must be satisfied “that there is a basis to conclude that questions common to a
potential group of plaintiffs would predominate a determination of the merits in this case.”) (internal
quotations omitted); Nez v. Southwest Glass & Glazing, Inc., 2016 U.S. Dist. LEXIS 195640, *21
(D. N.M. Dec. 22, 2016) (decertifying FLSA collective where differences between plaintiffs and


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plaintiff fails to prove that he and the opt-in plaintiffs are similarly situated under this more onerous

burden of proof, decertification is proper. See id. Here, Plaintiffs have not met their burden.

       Discovery is over, and trial is nearly over, yet Plaintiffs have failed to establish overtime

liability for each officer at issue in this case or even propose some means by which they could

attempt to do so. The evidence has established numerous dissimilarities between Plaintiffs in ways

that bear on the viability of their respective FLSA claims; their rates of pay, standard working

schedules, and frequency of working City Details vary substantially from officer-to-officer. Those

variables will determine whether any given Plaintiff has an entitlement to additional pay under the

FLSA, and because these factors vary greatly among the Plaintiffs in this case, a finding as to

whether there is or is not liability as to any given Plaintiff tells the Court and the parties nothing

about whether any other Plaintiff may also have a viable claim. Fundamentally, the claims asserted

and record facts in this litigation will require that their FLSA claims be evaluated on an individual-

by-individual basis, which is anathema to a collective action proceeding.

       There is no evidence before the Court that even one Plaintiff worked more than 40 hours

during a workweek in which he or she also worked a City Detail during the operative recovery

period. Even if there were such evidence, that evidence could not be used to extrapolate any

findings as to any other Plaintiff. In fact, at the end of Trial Day 3, Plaintiffs’ counsel conceded

that he was unable to establish overtime liability across all Plaintiffs based on the records presented

at trial or within the reasonable time parameters set by the Court for trial.




opt-ins “inhibit representative proof of liability”); Stevens v. HMSHost Corp., 2014 U.S. Dist.
LEXIS 119653, *21-22 (E.D.N.Y. Aug. 26, 2014) (decertifying FLSA collective where variations
between plaintiffs meant that liability across the collective was “not amenable to generalized or
representative proof.”); Syrja v. Westat, Inc., 756 F. Supp. 2d 682, 687-689 (D. Md. 2010) (denying
certification due to need for individualized inquiries to determine hours of work and thus liability
and damages).


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       Because the record has established that Plaintiffs’ overtime claim under the FLSA cannot

be adjudicated on a collective basis with representative proof, decertification is proper ,and the

Court should dismiss the claims of all opt-in Plaintiffs. See Zivali, 784 F. Supp. 2d at 460 (if

plaintiffs are not similarly situated, “the class is decertified, the claims of the opt-in plaintiffs are

dismissed without prejudice, and the class representative may proceed on his or her own claims.”).

                                           CONCLUSION

       Accordingly, the City respectfully requests an order decertifying any FLSA collective in

this action, and dismissing the claims of any opt-in Plaintiffs.

DATED: May 10, 2021                            Respectfully submitted,

                                               DEFENDANT CITY OF MALDEN

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                                CERTIFICATE OF SERVICE

        I hereby certify that, on May 10, 2021, a true and correct copy of the foregoing document
was filed electronically through the Court’s ECF system, which will send notice of this filing to
all counsel of record.

                                             /s/ Alison H. Silveira
                                             Alison H. Silveira




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